W. T. &amp; M. COMPANY, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.W. T. &amp; M. Co. v. CommissionerDocket Nos. 8778, 13093.United States Board of Tax Appeals11 B.T.A. 722; 1928 BTA LEXIS 3732; April 20, 1928, Promulgated *3732  1.  NET INCOME. - In computing net income for each of the taxable years the allowable deductions for depletion and depreciation under the 1918 and 1921 Revenue Acts should be found by applying a unit based upon the March 1, 1913, values after giving effect to additions thereto and applied to the value of production in each of said years.  2.  INVESTED CAPITAL. - The invested capital for the taxable years should be found by giving effect to reserves for depletion and depreciation claimed by and allowed to the petitioner under the Excise Tax Act of 1909 and the Income Tax Acts of 1913 and 1916 and thereafter under the Revenue Acts of 1918 and 1921.  3.  SAME. - Current earnings available for dividends in any year should not be reduced by any so-called tentative tax computation.  L. S. Ayers &amp; Co.,1 B.T.A. 1135"&gt;1 B.T.A. 1135, followed.  4.  SAME. - In computing invested capital for the several taxable years there should be eliminated in each of such years the prorated portion of the income and profits taxes of the prior year and all of the tax liability of previous years when the same shall have been finally determined.  W. B. Beaizley, Esq., for the petitioner. *3733 Maxwell E. McDowell, Esq., for the respondent.  TRUSSELL *723  These proceedings result from determinations by respondent of deficiencies in income and profits taxes amounting as follows: for 1919, $1,478.56; for 1920, $2,636.76; for 1921, $1,873.20, and for the year 1922 a deficiency in the amount of $188.71, resulting from the disallowance in part of a claim for abatement.  Petitioner alleges error with reference to the following issues common to all of the years, save that no question of invested capital for 1922 is involved: (1) A failure to allow reasonable deductions from income for depreciation and depletion; (2) reductions of invested capital by alleged additional depreciation and depletion; (3) reductions of invested capital attributable to dividends in excess of available current earnings; (4) reductions of invested capital attributable to prior years' taxes.  Upon motion duly made and granted the appeals were combined for purposes of hearing and decision.  FINDINGS OF FACT.  Petitioner is a California corporation with its principal place of business at Bakersfield, and it was incorporated on April 19, 1909, with an authorized capital stock*3734  of 500,000 shares, par value $1 per share, all of which is outstanding.  Under date of March 23, 1909, Altoona Midway Oil Co., a Delaware corporation, leased to Howard E. Wright, a resident of Berkeley, Calif., the north half of southwest quarter of northwest quarter of section 25, township 32 south, range 23 east, Mount Diablo Base and Meridian, in Kern County, Calif., comprising 20 acres more or less, for a term of 20 years for the purpose of extracting crude petroleum and other hydro-carbon substances.  The oil lease was recorded on April 6, 1909.  On April 19, 1909, Howard E. Wright transferred the oil lease and all of his rights thereunder to petitioner and received in consideration of the transfer 499,500 shares of the capital stock of petitioner.  The transfer of the lease was recorded on April 19, *724  1909.  Subsequently, in the same year, Wright donated to petitioner 50,840 shares of said capital stock with the understanding that they would be offered by petitioner for sale at a price of 40 cents per share in order to provide working capital.  The shares were sold at not less than 40 cents per share.  Petitioner entered on its books of account at a value of 40*3735  cents per share all of the 448,660 shares of stock issued to and still held by Wright for the lease, assigning a value to the oil lease in the amount of $179,464.  The cost to petitioner of the oil lease amounted to $179,464.  Beginning in 1910 petitioner charged off on its books of account each year one-twentieth aliquot part of the value which was set up on the books for the lease.  During the period 1909 to 1919, both inclusive, petitioner acquired for cash at an aggregate cost of $94,591.10 certain physical properties and operating equipment.  On the books of account, petitioner charged the cost of these assets and of all replacements thereof to the capital asset accounts and the cost of minor repairs was charged to current expense.  Allowances for wear and tear, exhaustion and obsolescence of the physical properties were computed and entered upon the books annually upon a basis of 10 per centum of the net balance of the asset accounts on December 31, of each year, the allowances being charged every year to and therefore they were deducted from the book values.  In the year 1923 the original cost of the physical properties was restored to the asset accounts on the books*3736  and a reserve account for depreciation was set up on a basis of an annual allowance of 5 per cent of the cost of the properties.  The revised book entries resulted in a restoration on the books of net asset values, amounting to $6,461.06 as of December 31, 1918, a reduction thereof amounting to $172.68 as of December 31, 1919, and a restoration thereof amounting to $5,617.09 as of December 31, 1920.  Dividends were paid as follows: In 1919: April 1, $7,500, July 1, $7,500, October 1, $7,500, and December 26, $7,500.  In 1920: April 1, $7,500, July 1, $7,500, and October 1, $7,500.  In 1921: January 1, $7,500, April 1, $10,000, May 12, $7,500, July 1, $7,500, and October 1, $5,000.  In the returns for the years 1919, 1920, and 1921 the excesses of the dividends over the current earnings computed to be available were deducted from invested capital.  In adjusting these changes in invested capital, respondent gave consideration and effect to tentative taxes for the current years as reductions of the respective amounts of available current earnings.  *725  For the years 1917 to 1922, both inclusive, petitioner filed amended returns in 1923 and paid additional taxes amounting*3737  for 1917 to $25.45 and for 1918 to $40.68.  For all other years the amended returns showed reductions in the tax liability.  In computing the taxable income of petitioner for the years 1919 to 1922, both inclusive, respondent computed unit rates or values based upon the value of March 1, 1913, of the oil reserves amounting to $100,000, a remaining cost as of March 1, 1913, of the physical properties amounting to $94,591.59, plus the actual cost of additions subsequent to March 1, 1913, and the estimated total quantity of the oil reserves.  He computed the allowable deductions from income in each year on the basis of the unit rate applied to the amount of crude oil produced in the year.  The total amounts of depletion and depreciation sustained as of the beginning of each of the taxable years were computed by respondent upon the basis of the unit rates applied to the total production of oil to date.  In computing invested capital for the taxable years respondent deducted additional amounts of depletion and depreciation for all prior years.  OPINION.  TRUSSELL: In the third issue we are controlled by our opinion in *3738 , holding that current earnings available for dividends may not be reduced by a tentative tax, and we therefore reverse respondent.  In the fourth issue, the adjustments of invested capital for income and profits taxes for the next proceeding years are squarely within the provisions of section 1207 of the Revenue Act of 1926 and should be made in accordance with the regulations in force in respect of the taxable year.  . Additional Federal income and profits taxes for years prior to the next preceding years are deductible from invested capital in full if not barred by the statute of limitations, , based upon the tax liabilities finally determined, . This disposes of minor issues and brings us to the main issues, numbered 1 and 2.  We will consider them together.  They relate to amounts of allowances for depletion and wear and tear, exhaustion and obsolescence deductible from income, and to the values of the assets, subject to the depletion and depreciation, properly*3739  allowable in invested capital.  Petitioner acquired for its capital stock an oil lease with a definite life of 20 years and in addition at various times thereafter it acquired physical properties the subject of wear and tear, exhaustion and obsolescence.  At acquisition, petitioner set up on its books of account the *726  value of the leasehold and annually thereafter it has charged off aliquot parts of such value based upon the life of 20 years.  By way of allowance for the depreciation of physical properties 10 per cent of the book balance of the asset accounts was annually charged off, being deducted from the asset values on the books each year.  In other words, petitioner computed the amount of the allowance on what is known as the declining-balance method.  For the taxable years, respondent has employed still another method known as the unit-of-production method, and he has computed the depreciation as well as the depletion by this method.  In the simplest terms it consists in ascertaining a unit value based upon the estimated total quantity contained in the oil reserve and the aggregate of the values of the leasehold plus the physical properties, whereupon, in each year*3740  the deduction by way of allowance for depletion and depreciation is computed at the unit rate based upon the quantity of oil produced in the year.  Petitioner contends for a method in which the time element of the life of the lease is the controlling factor.  Respondent discards the element of time and is governed by the opinion that the recoverable oil reserve is the proper factor since the leasehold may have no further value after the supply of oil is exhausted.  He contends as a matter of general principle that time is not an element in the case of natural resources subject to depletion through variable exhaustion of the assets.  It appears that the petitioner began operations under its lease of oil lands in the year 1910.  It has, therefore, been subject to the provisions of each of the taxing acts known as the Excise Tax Act of 1909 and the Income Tax Acts of 1913 to 1921, inclusive.  The Excise Tax Act of 1909 provides for the deduction from gross income of - (Second) all losses actually sustained within the year and not compensated by insurance or otherwise, including a reasonable allowance for depreciation of property, if any, * * *.  This law made no provision for the*3741  deduction or setting aside of a reserve for the depletion of natural resources.  The Revenue Act of 1913 provides for the deduction from gross income of - (Second) all losses actually sustained within the year and not compensated by insurance or otherwise, including a reasonable allowance for depreciation by use, wear and tear of property, if any; and in the case of mines a reasonable allowance for the depletion of ores and all other natural deposits, not to exceed 5 per centum of the gross value at the mine of the output for the year for which the computation is made; * * * [Par. G(b)].  The Revenue Act of 1916 provides for the deduction from gross income of - Second.  All losses actually sustained within the year in business or trade conducted by it within the United States and not compensated by insurance or *727  otherwise, including a reasonable allowance for the exhaustion, wear and tear of property arising out of its use or employment in the business or trade; (a) and in the case (a) of oil and gas wells a reasonable allowance for actual reduction in flow and production to be ascertained not by the flush flow, but by the settled production or regular flow; * *3742  * * [Sec. 12(a)].  The Excise Tax Act of 1909 was effective from the time the petitioner began business until February 28, 1913.  The Revenue Act of 1913 was effective from March 1, 1913, to December 31, 1915.  The Revenue Act of 1916 was effective from January 1, 1916, to December 31, 1917.  The Revenue Act of 1918 made provisions for the deduction from gross income of depreciation and depletion as follows: SEC. 234. (a) That in computing the net income of a corporation subject to the tax imposed by section 230 there shall be allowed as deductions: * * * * * * (7) A reasonable allowance for the exhaustion, wear and tear of property used in the trade or business, including a reasonable allowance for obsolescence; * * * * * * (9) In the case of mines, oil and gas wells, other natural deposits, and timber, a reasonable allowance for depletion and for depreciation of improvements, according to the peculiar conditions in each case, based upon cost including cost of development not otherwise deducted: Provided, That in the case of such properties acquired prior to March 1, 1913, the fair market value of the property (or the taxpayer's interest therein) on that date shall*3743  be taken in lieu of cost up to that date: * * *.  In the case of leases the deductions allowed by this paragraph shall be equitably apportioned between the lessor and lessee; * * *.  The comparable provisions in the Revenue Act of 1921 are expressed in the same language as the foregoing provisions of the Revenue Act of 1918, except that to the above quoted subdivision 7 there are added the following words: In the case of such property acquired before March 1, 1913, this deduction shall be computed upon the basis of its fair market price or value as of March 1, 1913.  The years here under review are the calendar years 1919 to 1922, inclusive, and in respect to these years the above quoted provisions of the Revenue Acts of 1918 and 1921 are mandatory in so far as the computation of net income is concerned.  These provisions, however, are not retroactive and there is no authority of law under which these provisions of the taxing acts of 1918 and 1921 can be applied for any purpose to years or periods prior to January 1, 1918.  During all the years from 1910 to 1917, inclusive, the petitioner, in the operation of its business, kept its accounts and made its income and profits-tax*3744  returns upon the basis of an accounting system adopted by it, and in such system it took deductions for depreciation of its equipment *728  and losses upon the capital value of its leasehold.  Petitioner's tax returns for those years have been audited and accepted, and there is no evidence in this record that the deductions as taken by the petitioner were not in all respects reasonable and in substantial accord with the provisions of the several taxing acts applicable to the different years 1910 to 1917, inclusive.  No issue is raised here as to whether the deductions thus taken were too great or too small in amount and it may not, therefore, be said that such deductions were not in accordance with the provisions of existing law.  Under the Revenue Acts of 1918 and 1921 a different situation exists.  These acts provide for reasonable allowances both for depreciation and depletion based upon March 1, 1913, values of depreciable and depletable assets.  The respondent has made a determination of such March 1, 1913, values and so far as we can determine from this record the petitioner is not now questioning the fairness of the values so determined by the respondent.  We are, therefore, *3745  of the opinion that in computing net income for 1918 and subsequent years the 1913 values determined by the respondent and the unit method of application which, so far as we can determine from the record, is reasonable and fair, should be accepted as to tax accounting of the petitioner since January 1, 1918, proper effect being given to additions to equipment in each year.  The statutory provisions for depletion and depreciation deductions apply only to the method of ascertaining the net taxable income.  There is no necessary relation between the deductions thus allowed and the proper adjustments to surplus in the computation of invested capital.  In the instant case invested capital for the taxable years must be found by going back first to the cash and property paid in for stock or shares.  In this case it has been found as a fact that a 20-year leasehold was paid in for stock and that that leasehold at the time paid in had a cash value of $179,464.  This value is admitted in the respondent's answer.  During all the years from 1910 to 1917, inclusive, petitioner claimed and has been allowed, exhaustion of this leasehold value upon the basis of its term of years.  It has also claimed*3746  and been allowed depreciation on its equipment on the basis during those years acceptable to itself, although now claimed to be unsatisfactory.  There is nothing in the record, however, that convinces us that the allowances for exhaustion of leasehold and the allowances claimed and allowed for depreciation of equipment during the years 1910 to 1917, inclusive, were not reasonable in amount and in substantial accord with the provisions of taxing statutes in force during those several years.  We are, therefore, of the opinion that in adjusting surplus for the purposes of invested capital for the taxable year the paid-in capital and undivided surplus and profits should be adjusted by giving effect to reserves for exhaustion and depreciation as claimed and *729  allowed to the petitioner for the period from 1910 to December 31, 1917, inclusive, and thereafter on the basis of depletion and depreciation allowances made under the Revenue Acts of 1918 and 1921.  Judgment will be entered upon 20 days' notice, pursuant to Rule 50.